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IN THE UNITED sTATEs DISTRICT counm `“" “ ”r~JL'

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 ,, 4 . n
wEsTERN DIvIsIoN J&JZH HH “`5-
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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04“20492-Ma

DAVID M. TATE,

'-_/-._¢-._/-._.4\_/-_1-._.¢\_/\..1

Defendant.

 

ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 23, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued this matter for a
report date on Tuesday, August 23{ 2005 at 1:30 p.m.

The period from June 23, 2005 through August 23, 2005 is
excludable under 18 U.s.c." § 3161(h)<8)<3){iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th|s docl,mant entered on the docket sheet In com hance
with Fhlle 55 and/or Ssz) FRCrP on _.LE_.ZU

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20492 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

Dan Newsom

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Honorable Samuel Mays
US DISTRICT COURT

